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From:          Robert McGuire
                                                                                                                                1
To:            Daniel Walter White; Bennett Davis Bryan; Laura K. Johnson; Cheryl Ringer; David Lowman; Kaye Burwell; Grant
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               Knapp; Jane P. Bentrott; John Carlin; Miriyala; Robert Manoso; Marilyn Marks (marilyn@aspenoffice.com)
Subject:       Curling v. Kemp -- Coalition Pls." Response to Defs." Inquiry re Why Litigation Hold Includes Optical Scanners
Date:          Monday, May 14, 2018 4:07:30 PM
Attachments:   20170912, 9.12 17 Curling v. Kemp - Litigation Hold clean.pdf


Counsel,

The purpose of this email is to satisfy the Court’s order (Doc. 205) requiring that,
“the Coalition Plaintiffs shall respond to Defendants’ inquiry as to why the
litigation hold include optical scanning machines that are not DRE machines.”

Coalition Plaintiffs wish to have electronic records of optical scanners preserved
because all computers can be infiltrated with malware, and the AccuVote Optical
Scanner (“AVOS”) is no exception. The AVOS is an integrated component in
Georgia’s DRE voting system. The AVOS can both receive and transmit malware
to and from other components in the system, such as the GEMS server, individual
DRE units and, in this case, the KSU server.

The litigation hold in this case includes optical scanning machines because the
Coalition Plaintiffs intend to request production of the electronic records of the
optical scanners used in relevant elections as part of our discovery, given the
ability inherent in the system to spread malware. Additionally, given that the
Coalition Plaintiffs have recommended that the AVOS units be used for an
interim solution, examination of the security of those machines is anticipated to
be part of our proof.

We take this opportunity to clarify a typo that appears on the September 12, 2017
litigation hold letter from Steptoe (attached). Specifically, the second numbered
item in the letter contains a stray “2” in front of the words “Optical Scanners.”
The stray “2” is a typo—the intention was to note that all optical scanners, not
just two of them, are required to be maintained. I understand that Daniel White
noted this typo last Thursday.

More generally, we reiterate here that the Coalition Plaintiffs expect the county
defendants to maintain all electronic records listed in the September 12, 2017
letter for the relevant elections referenced in the complaints, something we have
repeatedly indicated in previous correspondence. (Relevant correspondence
includes the letter of September 22, 2017 to the Court referencing all of the
machines that had been released and citing our understanding that all other
election records remain on litigation hold.)

Our understanding of the present state of things is that all election records must
be preserved, consistent with the Court’s December 15, 2017 Order (Doc. 122)
requiring the preservation of “all evidence relevant to the claims and defenses in
this litigation.” The Court’s 12/15/17 Order encompasses all election data created
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in the relevant elections that have not been specifically released by the Coalition
Plaintiffs. Based on this understanding, we continue to maintain, and hereby
reiterate, our objection to the ongoing alteration of records used in the November
and December 2017 elections.

We also want to be clear here that the “agreement” last Thursday that plaintiffs
will await a proposed schedule to receive more information from the counties
about the DRE machines’ electronic records (which the Coalition Plaintiffs
requested on 5/2 and 5/3) should not be taken to mean that the Coalition
Plaintiffs have in any way agreed to the counties overwriting any machines that
contain data from the relevant elections identified in the complaints, since all of
the data from those relevant election are still subject to litigation hold under the
Court’s Order of 12/15/17.

Best,
Robert McGuire

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